Case 18-15691-CMG Doc 43-9 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit G - 6-22-16 order in Engelberg Derivative Litigation Page 1 of 6




                           Exhibit G
FILED: NASSAU COUNTY CLERK 06/22/2016 03:37 PM                                   INDEX NO. 606919/2014
NYSCEF DOC.Case
            NO. 18-15691-CMG
                228              Doc 43-9 Filed 05/08/18 Entered 05/08/18      21:30:37NYSCEF:
                                                                             RECEIVED     Desc 06/22/2016
                Exhibit G - 6-22-16 order in Engelberg Derivative Litigation Page 2 of 6




                                               1 of 5
Case 18-15691-CMG Doc 43-9 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit G - 6-22-16 order in Engelberg Derivative Litigation Page 3 of 6




                                   2 of 5
Case 18-15691-CMG Doc 43-9 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit G - 6-22-16 order in Engelberg Derivative Litigation Page 4 of 6




                                   3 of 5
Case 18-15691-CMG Doc 43-9 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit G - 6-22-16 order in Engelberg Derivative Litigation Page 5 of 6




                                   4 of 5
Case 18-15691-CMG Doc 43-9 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
      Exhibit G - 6-22-16 order in Engelberg Derivative Litigation Page 6 of 6




                                   5 of 5
